                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 STACEY LAMAR ANDERSON,                           )
                                                  )
                        Petitioner,               )
                                                  )           No. 1:04-CV-76/1:03-CR-145
 v.                                               )
                                                  )           Judge Curtis L. Collier
 UNITED STATES OF AMERICA,                        )
                                                  )
                        Respondent.               )



                                             ORDER

        For the reasons set forth in the accompanying Memorandum, the Court DENIES Petitioner

 Stacey Lamar Anderson’s (“Petitioner”) motion to vacate, set aside, or correct his sentence pursuant

 to 28 U.S.C. § 2255 (Court File No. 1). Further, the Court DECLINES to issue a certificate of

 appealability pursuant to 28 U.S.C. § 2253(c) and CERTIFIES any appeal in this matter by

 Petitioner would not be taken in good faith.



        SO ORDERED.

        ENTER:



                                                /s/
                                                CURTIS L. COLLIER
                                                CHIEF UNITED STATES DISTRICT JUDGE




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